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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

U.S. SECURITIES AND EXCHANGE
COMMISSION,

       Plaintiff,
                                                      Case No. 1:19-cv-1424
            v.
                                                      JURY TRIAL DEMANDED
KRM SERVICES, LLC and
ROBERTO J. CLARK, JR.,

       Defendants.



                                          COMPLAINT

       Plaintiff, the U.S. Securities and Exchange Commission (the “Commission” or “SEC”), for

its Complaint against Defendants KRM Services, LLC (“KRM”) and Roberto J. Clark, Jr.

(“Clark”) alleges as follows:

                                           SUMMARY

       1.        From December 2016 to approximately February 2019, Clark engaged in a

fraudulent scheme to solicit individuals to make short-term loans to KRM, a company that Clark

controlled, and to invest in unregistered securities issued by KRM. Clark claimed that KRM

needed funds to market and develop its “JetBoard,” a motorized surfboard, and that KRM already

had pending orders for the surfboard. In fact, KRM had no orders or contracts for any products

and Clark diverted most of the approximately $350,000 that he obtained from multiple investors

to his personal use.

       2.        In furtherance of the scheme, Clark offered unregistered securities, made material

misrepresentations about KRM’s business, provided investors with fabricated purchase orders, and
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engaged in other deceptive acts to convince prospective investors that KRM had income from

which KRM could repay the loans.

       3.      Defendants’ misappropriation, materially false statements, and related deceptive

acts violated the antifraud provisions of the Securities Act of 1933 (“Securities Act”), 15 U.S.C. §

77q(a), and the Securities and Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. § 78j(b), as

well as the registration provisions of the Securities Act, 15 U.S.C. § 77e(a) and (c). The

Commission respectfully requests, among other things, that the Court enjoin Clark and KRM from

committing further violations of the federal securities laws as alleged in this Complaint; issue a

conduct-based injunction prohibiting Defendants from participating in the issuance, offer, or sale

of any security; and order Defendants to pay disgorgement, plus pre-judgment interest, and

monetary penalties based upon these violations.

                                         DEFENDANTS

       4.      KRM is a Florida limited liability company incorporated by Roberto J. Clark, Jr.

During the time period at issue, KRM had a principal place of business in Arlington, Virginia and

Chevy Chase, Maryland.

       5.      Clark was KRM’s founder, manager, and majority owner during the time period at

issue. At all relevant times, Clark controlled KRM. Clark offered and sold securities to investors

from KRM’s places of business in Maryland and Virginia. The majority of Clark’s securities

solicitations were conducted in Alexandria and Fairfax, Virginia.

                                JURISDICTION AND VENUE

       6.      The Court possesses jurisdiction over this action and authority to grant the relief

requested pursuant to Sections 20 and 22 of the Securities Act, 15 U.S.C. §§ 77t and v, and Sections

21 and 27 of the Exchange Act, 15 U.S.C. §§ 78u and aa.




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       7.      Venue is proper in this District pursuant to Section 22(a) of the Securities Act, 15

U.S.C. § 77v, and Section 27(a) of the Exchange Act, 15 U.S.C. § 78aa, because Defendants

offered and sold unregistered securities and violated the antifraud provisions of federal securities

laws in this District. Defendants met with prospective investors at offices, restaurants, and other

locations in Vienna, Chantilly, Fairfax, and McLean, Virginia for the purpose of soliciting

investments   in   unregistered    securities.         Defendants’   solicitations,   which   included

misrepresentations and other deceptive acts, resulted in at least eighteen contracts for the sale of

unregistered securities to residents of Fairfax, Manassas, and Springfield, Virginia.

       8.      In connection with the conduct alleged in this Complaint, Defendants made use of

the means or instruments of transportation and communication in interstate commerce. Among

other things, Defendants used email, telephone, and bank wires to perpetrate their scheme.

                                                 FACTS

I.     Clark Engaged in an Unregistered Offering of Securities.

       9.      In December 2016, Clark founded KRM ostensibly to “introduce and re-energize

the watersports market with new innovative, market changing products,” according to a Prospectus

and Private Placement Memorandum (“PPM”) that Clark distributed to potential investors. More

specifically, KRM claimed in the PPM to have exclusive rights to sell in the United States a

motorized surfboard called the “Jetboard.”

       10.     From approximately December 2016 through approximately February 2019, Clark

solicited investors in Chantilly, Fairfax, McLean, Manassas, Springfield, and Vienna, Virginia, as

well as in Maryland and Pennsylvania. Clark offered investors KRM promissory notes (the

“Notes”) and equity interests in KRM itself (the “LLC Interests”).




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        11.    Clark made offers to investors he met in public social settings such as bars,

restaurants, and adult entertainment establishments. Clark then asked some of these investors to

introduce him to other individuals who might also be interested in investing in KRM’s unregistered

securities.

        12.    In the spring of 2017, KRM issued invitations via email to prospective investors for

a “gala” on a yacht on the Potomac River that would include a demonstration of the Jetboard.

Clark provided a demonstration for over 20 potential customers at the June 2017 gala, where Clark

distributed a PPM that offered investors up to $1 million in KRM promissory notes.

        13.    Notwithstanding the existence of the PPM, Clark offered the KRM securities to any

and all interested investors; did not restrict investments to those who had special knowledge about

the Notes or KRM or to those who had access to the same kind of information about the Notes and

KRM that would be included in a properly filed registration statement; and offered such securities

to those with whom Clark and KRM had no prior business relationship.

        14.    In response to Clark’s solicitations, multiple investors invested approximately

$350,000 in KRM securities. Clark failed to undertake any reasonable efforts to determine

whether the individuals that he solicited to invest in KRM were “accredited investors” as defined

by Rule 506 of Regulation D of the Securities Act, 17 C.F.R. § 230.506.

        15.    The Notes and the LLC Interests are securities. Clark sold these instruments as

notes of indebtedness, certificates of interest in KRM, profit-sharing agreements, and as

investments in a common enterprise where investors were led to expect profits solely from KRM’s

efforts in the watersports industry.

        16.    No registration statement ever was filed or in effect for the Notes or the LLC

Interests, and no exemption from the registration requirements of the Securities Act applied.




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        17.      Clark’s efforts resulted in at least eighteen contracts for the sale of unregistered

securities to residents of Fairfax, Manassas, and Springfield, Virginia.

        18.      Clark used means and instrumentalities of interstate commerce to solicit

investments. After making an initial pitch to an investor at an in-person meeting, and as a further

inducement to invest, Clark often sent email and text messages to the prospect with additional

information about KRM, the Jetboard, and/or the status of KRM’s sales efforts. Clark also sent

via email draft agreements documenting the investments. Some investors paid KRM through wire

transfers.

II.     Clark Made Misrepresentations in Furtherance of his Fraudulent Scheme.

        19.      In furtherance of the scheme, Clark made a variety of material misrepresentations.

        20.      For the purpose of securing investments, Clark told investors that KRM needed

funds to fulfill existing and forthcoming purchase orders for the Jetboard and that KRM intended

to use the offering proceeds for that purpose. In reality, at no time did KRM have any purchase

orders for the Jetboard. Clark further claimed that these nonexistent purchase orders and other

unidentified contracts would garner large profits for KRM. For example:

              a. In or about April 2017, Clark told Investors 1 and 2 that KRM needed funds to

                 fulfill an order placed by a major international cruise line for a large shipment of

                 Jetboards. KRM issued promissory notes to Investors 1 and 2, both signed by

                 Clark, that stated, “Said investment will be used in the Surfboard #1002” followed

                 by the initials of the cruise line. Clark obtained approximately $13,800 by means

                 of these false statements.

              b. In or about May 17, 2017, Clark emailed Investor 3 and attached a 30-day

                 revenue/sales projection showing that KRM had sold 25 Jetboards and 10 kayaks




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                for an anticipated profit of $136,000. The projection also showed that KRM had

                rented Jetboards and Kayaks to establishments in Ocean City, Maryland and Fort

                Meyers, Florida, for an anticipated yearly profit of $980,930. In May and June

                2017, KRM issued promissory notes to Investor 3, signed by Clark, stating that

                KRM would use the loans for “Surfboard #1004” followed by the initials of Rental

                Equipment Company 1, and “Surfboard #1006” followed by the initials of Rental

                Equipment Company 2. Clark obtained approximately $36,000 by means of these

                false statements.

             c. On or about September 15, 2017, Clark offered KRM securities to prospective

                Investor 4. In the written solicitation, Clark claimed that KRM had “been awarded

                a purchase order/contract for 40 units of our jet surfboard,” with Rental Equipment

                Company 3, which would net $118,750 in profits for KRM within 45 days.

             d. On or about October 20, 2017, Clark executed a Memorandum of Understanding

                memorializing a loan from Investor 5 to KRM.                The Memorandum of

                Understanding included a statement that the loan was “for manufacturing” related

                to a “Purchase Order/Contract:” followed by the name of Rental Equipment

                Company 3.      Clark obtained approximately $59,000 by means of this false

                statement.

       21.      These representations, and similar representations Clark made to other investors for

the purpose of securing investments, were false. In fact, KRM had no contracts for the Jetboard

(or any other products), did not need or intend to use any funds raised to fulfill these non-existent

contracts, and had no realistic prospect of revenue from the non-existent contracts. Clark obtained

approximately $350,000 from investors by means of these and similar false statements.




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III.   Clark Committed Additional Deceptive Acts in Furtherance of his Fraudulent
       Scheme.

       22.      In addition to misrepresentations, Clark committed additional deceptive acts in

furtherance of the fraudulent scheme.

       23.      To induce investors to make loans to KRM and to keep unpaid investors

complacent, Clark provided investors with fabricated purchase orders for the Jetboard, emails

referencing purported meetings and contract negotiations with cruise lines and other potential

buyers that simply never occurred, and a fabricated patent opinion. For example:

             a. In April 2017, Clark showed Investors 1 and 2 a purported contract between KRM

                and a major cruise line to induce them to invest. Investor 2 used the contract to

                recruit friends and family members to also invest in KRM securities. In fact, KRM

                had no contract with the cruise line; Clark had fabricated it.

             b. On September 15, 2017, Clark attempted to induce prospective Investor 4 to make

                a loan to KRM, and provided him, via email, with a purported signed and notarized

                purchase order from Equipment Rental Company 3. But KRM had no purchase

                order from Equipment Rental Company 3.

       24.      To keep the scheme from collapsing once the Notes became due, Clark provided

investors with false assurances that payments from buyers were imminent, gave investors checks

that bounced, and created false bank records showing funds in KRM’s accounts that did not exist.

For example:

             a. On December 3, 2017, after Notes with Investors 2 and 3 were past due, Clark

                forwarded both investors an email, purportedly from Attorney 1, in which Attorney

                1 summarized a supposed meeting that had occurred between KRM and Attorney

                1’s “clients.” The email stated, “I have personally given approval to our clients to



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                begin the contracts process. . . . You should be receiving draft ‘sample’ contract

                documents from [Attorney 2] to begin your review process in the next couple days.

                Congratulations again!” Attorney 1 did not send this email. Clark sought to

                amplify the effect of Attorney 1’s supposed email by stating that the expected profit

                from the deal was $2 million. Clark’s email to Investor 3 also included the

                exhortation, “Don’t give up on me!!!!!!”

             b. On December 27, 2017, several months after an initial promissory Note was signed

                with Investor 5, Clark forwarded to him an email, purportedly from an attorney at

                Cruise Line 1, confirming a letter of intent to purchase 1,000 units “in accordance

                to the agreed upon terms and conditions from our December 22, 2017 meeting . . .

                please expect an executable contract within 5-7 days.” Attorney 3 did not send the

                email.

             c. On January 9, 2018, Clark gave three checks to Investor 5 to repay her investment

                in KRM.     The first check bounced and Investor 5 contacted Clark for an

                explanation. Clark texted Investor 5 a screen shot of a bank account showing

                $299,943.66 in funds and further texted, “Plenty of money in there. We are figuring

                out why check didn’t go thru.” The screen shot, however, was of a different bank

                account than that on which the checks were written. When Investor 5 pointed this

                out to Clark, he ceased communicating with her. When Investor 5 presented the

                two other checks to KRM’s bank, the bank informed her that KRM’s account had

                insufficient funds to cover the checks.

       25.      Clark misappropriated almost all of the investor funds for his personal use or to pay

earlier investors with the funds of later investors. For example, in 2017 and 2018, Clark made the




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following payments for personal expenses using investor funds: at least $41,000 to restaurants

and bars; at least $19,000 to hotels; at least $15,000 to family members; at least $8,000 to

department and clothing stores; at least $5,000 to convenience and gas stores; at least $3,000 to

grocery and liquor stores; at least $1,000 to gyms; at least $1,500 to spas and beauty salons; at

least $1,000 to pet stores and groomers; and at least $200 to a bail bondsman. On or about June

8, 2017, Clark used later investor funds to repay a $10,000 capital contribution of an earlier

investor.

       26.      On March 8, 2018, the Fairfax County Police Department arrested Clark in

connection with certain aspects of his fraudulent scheme. Notwithstanding his arrest, Clark

continued to solicit new investors as late as February 2019, when the FBI recorded Clark

attempting to solicit a new investor by telephone in Pennsylvania.

IV.    KRM is Liable for Clark’s Actions.

       27.      KRM is liable for Clark’s actions because Clark was the majority owner of KRM

and controlled it. Per KRM’s Operating Agreement, Clark, as the majority interest holder, had the

authority for “all decisions and documents relating to the management and operation of [KRM].”

Clark signed all of the Notes on KRM’s behalf, was the main point of contact for KRM investors

and personally solicited most if not all of them, prepared or caused to be prepared the PPM,

supervised all of KRM’s employees, drafted the fictitious purchase orders and contracts for the

Jetboard, was an authorized signatory on KRM’s bank accounts, and approved KRM’s

expenditures.

       28.      KRM is also liable for Clark’s actions because Clark acted at all relevant times

within the scope of his employment with KRM. Among other things, Clark’s offering of

unregistered securities, misrepresentations, and other fraudulent and deceptive acts were made




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while Clark was soliciting investments on behalf of KRM and otherwise communicating with

KRM investors. Soliciting investments and communicating with investors was within the ordinary

scope of KRM’s business.

                                          COUNT I
                           Unregistered Offer or Sale of Securities
                    Violations of Section 5(a) and (c) of the Securities Act

        29.    Paragraphs 1-28 are realleged and incorporated by reference herein.

        30.    From December 2016 through approximately February 2019, Clark conducted a

general solicitation of investments in KRM in Virginia, Maryland, and Pennsylvania.

        31.    The investments were in the form of Notes and LLC Interests, which are securities.

        32.    No registration statement ever was filed or in effect for the Notes or LLC Interests.

        33.    No exemption to the requirement of registration applied to the Notes or LLC

Interests.

        34.    Clark’s offers and sales of the Notes and LLC Interests were made by telephone,

emails, and text messages, which are means and instrumentalities of interstate commerce.

        35.    Clark did not undertake any reasonable effort to determine whether the individuals

he solicited to invest in KRM were accredited investors.

        36.    KRM is liable for Clark’s actions as Clark is the majority owner and operator of

KRM and Clark’s actions were made within the scope of his employment with KRM.

        37.    Defendants violated, and unless enjoined, will again violate, Section 5(a) and (c) of

the Securities Act, 15 U.S.C. § 77e(a) and (c).

                                         COUNT II
                       Misrepresentations and other Deceptive Acts
 Securities Act Section 17(a)(1)-(a)(3) & Exchange Act Section 10(b) and Rule 10b-5(a)-(c)
                                         thereunder

        38.    Paragraphs 1-37 are realleged and incorporated by reference herein.



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       39.     Clark engaged in a fraudulent scheme to solicit individuals to invest in KRM so

that Clark could misappropriate the invested funds.

       40.     In furtherance of the fraudulent scheme, Clark made false statements of fact to

prospective and existing investors to obtain money for himself and KRM. The misrepresentations

were material because, among other things, reasonable investors would consider the facts that

KRM had no contracts or purchase orders, and that Clark intended to misappropriate investors’

payments to be important in deciding whether to invest in KRM. Clark and KRM obtained

approximately $350,000 through these material misrepresentations.

       41.     Clark engaged in other deceptive acts in furtherance of the fraudulent scheme.

Among other things, Clark fabricated contracts, purchase orders, and third-party emails; used

investor funds to repay earlier investors; misappropriated investor funds for his personal use; and

provided one investor with checks that did not clear KRM’s account and then provided the investor

with screen shots of a different bank account to support the false claim that KRM had sufficient

funds to repay her.

       42.     Clark implemented the scheme in connection with the offer, purchase, and sale of

the Notes and LLC Interests in KRM, which are securities.

       43.     Clark executed the scheme by telephone and e-mail, which are means and

instrumentalities of interstate commerce.

       44.     Clark knew, or was reckless in not knowing, that his misrepresentations and

deceptive acts would mislead investors. At a minimum, Clark failed to act with ordinary care.

       45.     KRM is liable for Clark’s actions as Clark is the majority owner, control person,

and operator of KRM and Clark’s actions were made within the scope of his employment with

KRM.




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       46.      Defendants violated, and unless enjoined will again violate, Securities Act Sections

17(a)(1)-(a)(3), 15 U.S.C. § 77q(a)(1)-(a)(3), Exchange Act Section 10(b), 15 U.S.C. § 78j(b), and

Rule 10b-5(a)-(c) thereunder, 17 C.F.R. § 240.10b-5(a)-(c).

                                      RELIEF REQUESTED

       For these reasons, the Commission respectfully requests that this Court enter a final

judgment:

       a. Ordering Defendants to disgorge, with prejudgment interest, all ill-gotten gains

             received or derived from the activities set forth in the Complaint;

       b. Ordering Defendants to pay civil penalties;

       c. Permanently enjoining Defendants from directly or indirectly violating Sections 5 and

             17(a) of the Securities Act, Section 10(b) of the Exchange Act, and Rule 10b-5

             thereunder;

       d. Permanently enjoining Clark from directly or indirectly, including but not limited to

             through any entity he owns or controls, participating in the issuance, offer, or sale of

             any security, provided, however, that such injunction shall not prevent Clark from

             purchasing or selling securities for his own personal account; and

       e. Granting such other and further relief as may be necessary or appropriate.

                                     JURY TRIAL DEMAND

       The Commission demands a jury trial on all issues triable of right by a jury.




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  Dated: November 8, 2019

                                            Respectfully submitted,

  Of Counsel:
                                            /s/ Timothy K. Halloran
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